     Case 2:08-cv-01220-SM-DEK Document 2214 Filed 01/27/15 Page 1 of 2



MINUTE ENTRY
MORGAN, J.
JANUARY 27, 2015

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 KURIAN DAVID, et al                                  CIVIL ACTION
 VERSUS                                               NO. 08-1220
 SIGNAL INTERNATIONAL, LLC, et al                     SECTION "E" (3)


 EQUAL EMPLOYMENT OPPORTUNITY                          CIVIL ACTION
 COMMISSION

 VERSUS                                                NO. 12-557

 SIGNAL INTERNATIONAL, LLC, et al                      SECTION "E"


 LAKSHMANN PONNAYAN ACHARI, et al                      CIVIL ACTION

 VERSUS                                                NO. 13-6218
                                                       (c/w 13-6219, 13-6220,
                                                        13-6221, 14-732, 14-1818)

 SIGNAL INTERNATIONAL, LLC, et al                      SECTION "E"



 Applies To:
 David v. Signal
 (No. 08-1220)

                                    JURY TRIAL

                       JUDGE SUSIE MORGAN, PRESIDING


TUESDAY, JANUARY 27, 2015 AT 8:30 A.M.

COURTROOM DEPUTY:       Cesyle Nelson
COURT REPORTER:         Susan Zielie, morning session
                        Mary Thompson, afternoon session

APPEARANCES:            Alan B. Howard, Daniel Werner, Naomi Tsu, Hugh Sandler, Melia
      Case 2:08-cv-01220-SM-DEK Document 2214 Filed 01/27/15 Page 2 of 2




                              Amal Bouhabib for Sony Vasudevan Salekha, Palanyandi
                              Thangamani, Hemant Khuttan, Padaveettiyil Issac Andrews, and
                              Jacob Joseph Kaddakkarappally (hereinafter referred to as
                              "plaintiffs");

                              Erin C. Hangartner, Hal D. Ungar, Elham Rabbani, Brian C. Roux,
                              Lance R. Rydberg, Lauren M. Davis, and Patricia A. Bollman for
                              Signal International LLC, Signal International, Inc., Signal
                              International Texas GP, LLC, and Signal International Texas, L.P.
                              (hereinafter referred to as "Signal");

                              Timothy W. Cerniglia for Malvern C. Burnett, Law Offices of Malvern
                              C. Burnett, A.P.C., and Gulf Coast Immigration Law Center, L.L.C.
                              (hereinafter referred to as "Burnett");

                              Stephen H. Shapiro, for Sachin Dewan, and Dewan Consultants, Pvt.,
                              Ltd. (hereinafter referred to as "Dewan")


JURY TRIAL

Continued from January 26, 2015.

       Witnesses called by Signal and placed under oath:
       Video deposition of John Sanders was begun. (Five minutes into the deposition it was
       halted because of technical difficulties);
       Chris Cunningham.

Court recessed at 12:00 p.m. until 1:00 p.m.

       Testimony of Mr. Cunningham continued;
       Deposition of Colline Stevens read to the jury;
       Video deposition of John Sanders resumed.

Court excused juror #11 for the remainder of the trial due to her child's sudden illness.

Exhibits 289, 53; 760; 264; 470; 314; 86; 184; 232; 1001; 1181; 632; 1389; 1410; 657 were offered
and admitted into evidence.

Because the Court added additional time for the jury to report, the Burnett and Dewan defendants
will each receive an additional 60 minutes to present their evidence.

Argument held on the admissibility of exhibits 2143 (page 4); 1544; 2061.



 JS-10:8:30
